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UNITED STATES DISTRICT COURT                               I;D0C•J:v1S: TT
SOUTHERN DISTRICT OF NEW YORK                                l r: •L.,_}::,r,·
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DAISY TORRES,                                              ll:.·~ :~~;·   :~~-~ - ,r/41irfjf i:
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                             Plaintiff,
                                                                         ORDER
               - against -

BRONX LEBANON HOSPITAL CENTER ET
AL.'

                             Defendants.

JOHN G. KOELTL, District Judge:

     The plaintiff should provide the defendants with any

proposed amended complaint by November 10 , 2020 .                                              The Court will

hold a teleconference on November 23 , 2020 , at 2pm .



SO ORDERED .

Dated:      New York, New York
            November 6, 2020


                                                           John G. Koeltl
                                                    United States District Judge
